Case 2:04-Cr-20398-BBD Document 31 Filed 04/25/05 Page 1 of 3 Page|D 48

 

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IN THE UNITED sTATEs DISTRICT cOURT £3/
FOR THE wEsTERN DISTRICT OF TENNESSEE 95 _
wEsTERN DIVISION ¢…:) fn .,' d
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‘ D. Ci.i“{ .£.’f 7 ft
UNITED sTATEs oF AMERICA TN’ f"’";““"F’HFS

Plaintiff,
Criminal No. 0¢!' -2('}$C;XM1

(30-Day Continuance)

:NWP$ LOWC,

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at §¢QQ
a.m. on Friday, MaV 27, 2005, With trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

rhea document entered on the docket sheet in comp!ianc@

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with Hu|e 53 arm/or 32(b) FRCrP on 511 ¢LZ'QJ

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so ORDERED this 22nd day cf April, 2005.

w mr

JO` PHIPPS MCCALLA
TED sTATEs DIsTRIcT JUDGE

 

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®Ws Attorney
l \__/ \-___________/

 

 

 

 

Counsel for Defendant(s)

   

UNITED sATE DSTIIC COURT - WESTERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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Honorable J on McCalla
US DISTRICT COURT

